                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION
                        CIVIL ACTION NO. 1:20-CV-00299-KDB
 LISSA ANN FRANKS,

                 Plaintiff,

     v.                                                           ORDER

 KILOLO KIJAKAZI, Acting
 Commissioner of Social Security

                 Defendant.


          THIS MATTER IS BEFORE THE COURT on the Plaintiff’s Consent Motion for Fees

Pursuant to the Equal Access to Justice Act, 28 U.S.C. § 2412(d)(1)(A). (Doc. No. 24). Having

reviewed the motion and the supporting materials, the Court determines that Plaintiff should be

awarded an attorney’s fee under 28 U.S.C. § 2412(d) in the amount of $8,750.00.


          IT IS THEREFORE ORDERED that the Plaintiff’s Motion for Fees under 28 U.S.C. §

2412(d)(1)(A) filed is GRANTED, to the extent that the Court will award attorney fees in the

amount of $8,750.00, and that pursuant to Comm’r of Soc. Sec. v. Ratliff, 560 U.S. --, 130 S. Ct.

2521 (2010), the fee award will first be subject to offset of any debt Plaintiff may owe to the United

States. The Commissioner will determine whether Plaintiff owes a debt to the United States. If

so, the debt will be satisfied first, and if any funds remain, they will be made payable to Plaintiff

and mailed to Plaintiff’s counsel. If the United States Department of the Treasury reports to the

Commissioner that the Plaintiff does not owe a federal debt, the government will exercise its

discretion and honor an assignment of EAJA fees and pay the awarded fees directly to Plaintiff’s

counsel. No additional petition pursuant to 28 U.S.C. § 2412(d) shall be filed.




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SO ORDERED.




                Signed: February 3, 2022




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